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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                EVANSVILLE DIVISION

 WHOLESALE SCREENING
 SOLUTIONS LLC,

                  PLAINTIFF,
                                                     CAUSE NO. 3:20-cv-158-RLY-MPB
 V.

 CRIMINAL RESEARCH AND
 INVESTIGATIONS, INC., LAUREN
 ZULUAGA, STACI LAIRD ZULUAGA,
 AND DEBRA KELLER

                  DEFENDANTS.


                        ORDER OF DISMISSAL WITH PREJUDICE

            Pursuant to the Joint Stipulation of Dismissal filed by the Parties in this

 cause, this cause of action is hereby dismissed with prejudice, with each party to

 bear its own attorney fees and costs. This is a final and appealable order, there

 being no just reason for delay.


                                                    Judge, U.S. District Court
            2/22/2021

                                                    Date:


 Service will be made electronically on
 all ECF-registered counsel of record
 via email generated by the court’s
 ECF system.
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